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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


 IN RE: NATIONAL PRESCRIPTION                     MDL No. 2804
 OPIATE LITIGATION
                                                  Case No. 1:17-md-2804
 This document relates to:
                                                  Judge Dan Aaron Polster
 The County of Summit, Ohio, et al., v. Purdue
 Pharma L.P., et al., Case No. 18-OP-45090
 (N.D. Ohio).
                                                     ORDER GRANTING PLAINTIFFS’
                                                   MOTION FOR LEAVE TO FILE THIRD
                                                   AMENDED COMPLAINT UNDER SEAL




       Plaintiffs have filed a Motion for Leave to File Third Amended Complaint Under Seal in

the following case: The County of Summit, Ohio, et al., v. Purdue Pharma L.P., et al., Case No.

18-OP-45090 (N.D. Ohio).

       The Motion states that filing said Third Amended Complaint under seal is necessary to

ensure compliance with the following Orders:

       1. Protective Order Re: DEA’s ARCOS/DADS Database, ECF Doc. 167 (hereinafter
          “ARCOS Protective Order”); and

       2. Amended Agreed Confidentiality Order, filed in City of Chicago v. Purdue Pharma
          L.P., Case No. 14-CV-04361, ECF Doc. 487 (N.D. Ill.) (hereinafter “City of Chicago
          Confidentiality Order”).

       The Motion states that said Third Amended Complaint will contain information that is

subject to Protective and Confidentiality Orders. Specifically, the Third Amended Complaint

will contain:

       1. Information designated CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER by
          the ARCOS Protective Order; and

       2. Excerpts from documents produced in The City of Chicago, Illinois v. Purdue
          Pharma L.P., Case No. 14-CV-04361 (N.D. Ill.), which are subject to the City of
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       Chicago Confidentiality Order, which binds Plaintiffs in MDL 2804 pursuant to CMO
       One.

    Plaintiffs’ Motion for Leave to File Third Amended Complaint Under Seal is hereby

GRANTED.



    IT IS SO ORDERED.



                                      _____________________________________
                                      DAN AARON POLSTER
                                      UNITED STATES DISTRICT JUDGE


    Dated: March __, 2019




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